Case 1:25-cv-00596-ELH Document133 Filed 04/14/25 Pagelof1
Case 1:25-cv-O0596-ELH Document128-1 Filed 04/11/25 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
NORTHERN DIVISION

AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL EMPLOYEES,
AFL-CIO, et al.,

Plaintiffs,
VS.
Civil Action No. 1:25-cv-00596

SOCIAL SECURITY ADMINISTRATION,
etal.,

Defendants.

PROPOSED ORDER Se

Having considered Plaintiffs’ motion for leave to file their motion to expand hearing scope

and to file supplemental declarations under seal is GRANTED.

Dated: Hull as Golan es Hollor Sve

Hon. Ellen Lipton Hollander
United States District Judge

